                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                     AT GREENEVILLE


 UNITED STATES OF AMERICA                                 )
                                                          )        No. 2:20-CR-65
                  v.                                      )        JUDGE GREER
                                                          )
 EMORY Q. JACKSON                                         )



             MOTION TO CONTINUE THE PLEA DEADLINE AND TRIAL DATE


           Comes now, the United States of America, by and through J. Douglas Overbey,

 United States Attorney for the Eastern District of Tennessee, and hereby files this Motion to

 Continue the Plea Deadline and Trial Date and would show the following in support of:

    1. The defendant Emory Q. Jackson was indicted by the federal Grand Jury on September 1,

           2020 in a one count indictment.

    2. The plea deadline in this case was set on January 28, 2020, with a trial date on February

           11, 2021.

    3. On December 15, 2020, the government and the defendant through counsel filed a Joint

           Motion for Extension of Time to File Responses to Objections of the Report and

           Recommendation (Doc. 49).

    4. If the Extension Motion (Doc. 49) is granted, it would shorten the period for plea

           negotiations. The government has discussed this with the defendant’s counsel and agrees

           that it is necessary to continue the trial and the plead deadline, in order to give the

           defendant more time to address any plea negotiations.

 WHEREFORE, the United States respectfully requests that this Court grant the relief sought

 herein.

                                                          Respectfully submitted,


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                                                       J. DOUGLAS OVERBEY
                                                       United States Attorney


                                               By:      s/ KATERI L. DAHL
                                                       KATERI L. DAHL
                                                       Special Assistant U.S. Attorney
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                                                       Greeneville, TN 37743
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                                                       (423) 639-6759




                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of December, 2020, a true and accurate copy of the

 foregoing Motion was filed electronically. Notice of this filing will be sent by operation of the

 Court’s electronic filing system to all parties indicated on the electronic filing receipt. All other

 parties will be served by regular United States mail. Parties may access this filing through the

 Court’s electronic filing system.

                                                       s/ KATERI L. DAHL
                                                       KATERI L. DAHL
                                                       Special Assistant U.S. Attorney
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